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Fi`|l ill this information iO identify the casal

liebin flame 11380 SM|TH RD LLC

Un|ted States Barlitruptcy Courl for the: D|STR|CT OF COLORADO

 

Ca$€ number (i?k“°Wn} 18-10965 TBM

 

l Checklithisisan
amended Eiing

 

 

Officiai Form 206D
Schedule D: Creditors Who l-lave Claims Secured by Propert_y 12115
Be as complete and accurate ss possible.

‘l. Do any creditors have claims secured by debtor‘s property?
|:l No. Checir this box and submit page 1 of this form to the court with debtor's other schedules Debtor has nothing else to report on this form.

. Yes. Fili in all of the information below.
l.lst creditors who l-lsve secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. List ln alphabetical order ell creditors who have secured clsirrrs. ll a creditor has more than one secured C°'“"'" A C°’"m" a
claim, list the creditor separately for each elaim. An'iouni: of claim Value of collateral
that supports this
Do not deduct the value claim
of collateral
11 330 E. Smith Rd
2‘1 lnggs{ments, L|_c Deecl'ibe debtor‘s property that is subject to a lien $3,531,633.47 ssrsoorooo-oo
wm tim 1 1 380 Smith Road
Kresher Capitai Aurora, CO
3050 Aventura Blvd.. 3rd (Estimated Va|uei
Fioor
Miaml, FL 33180
creditors mailing address Doecrloe the lien
Deed of Trust
ls the creditor an insider er related party?
- No
cleaners smell address il known l:l ‘i'es
ls anyone else liable on this clalm?
Date debt was incurred I:l leg
October 2016 l Yee. l=iil out schedule l-r.- codeerers iorilclsl l=onn adam
Lest 4 digits el account number
Do multiple creditors have an As of the petition Itling date, the claim is:
interest Iri tile same property? Cliecii all that apply
- Np m Coniingent
El Yes. specify each creditor, cl U"“q"ida‘°°
including this creditor and its relative |:i disputed
Pfl°ll`i¥-
l 2.2 l Adarns Count\lr Treasurer vendee debtors mower that le euble¢l w a lien $56,?52.38 $6.500,000.00
CMM‘» lime Reai property taxes due in Apri| 2018
Brig|tto Grlmm, Treasurer
4430 S. Adams County
Pkwy
Brlgl'i‘torll CO 80601
Credioi’s mailing address Descrtbe the lien
le the creditor en insider or related party?
l No
creditors ernsll edoeee, il lam l:l Yas
is anyone else liable on this ciaim?
Date debt ives incurred - No
2017 E| Yss. Fill out schedule H: codeslors ionicisl Form zoel-ll
Last 4 digits of account number
Oiiicial Fonn 2060 Schedule D: Croditors Who Have Claims Secured by Property page 1 of 2

Softwaro Copirright ic} 1996-2011r Best Cesu, LLC - m.bosicase.com Bost Cese Beriiuupicy

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D€bf°r 11380 SM|TH RD LLC Case number (ii leiow) 18-10965 TBM
NUI'|S
no multiple creditors have an As oithe petition lillng data, the claim is:
interest in the san-is properly? Cheoii all that apply
l m n Conlingent
Ei rea specify each oredlror, n Ur=liquidai€d
inducing line creditor end irs relative Et needed
priority.
$3,508,390.8
3_ Tol.ai of the dollar amounts from Part 1, Co|umn A, Includlng the amounts from llle Additlonal Pege, il eny. 5

 

 

 

usc others to se lrourled ror e oehrAlrearry used in Pert 1

List irl alphabetical order any others who must be entitled for a debt already listed in Part 1. Exsmplos of entitles that may be listed are collection agencies,
assignees oi claims listed above, and attorneys for secured creditors.

ll rio others need to notified for tile debts listed ln Palt 1, do not ilil out or submit this page. if additional pages are nsedsd, copy title page.

 

Neme and address 0n which line in Part 1 did Lastddlgits of
you enter the related creditor? account number for
this entity
Dav|d Laird, Esq.
Moye White, LLP Line .L
1400 161|1 Stroot. 6th Fioor

Denver, CO 80202

 

Ofiiciai Forrn 206D Additionai Page of Schedule D: Creditors Who Have Claims Secured by Proper‘ty page 2 of 2

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